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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

PHYLLIS PRICE,                                         §
                                                       §
                       Plaintiff,                      §
                                                       §
v.                                                     §       Civil No. 4:14-cv-03441
                                                       §
U.S. DEPARTMENT OF EDUCATION,                          §
                                                       §
                       Defendant                       §


       FEDERAL DEFENDANT=S RESPONSE IN OPPOSITION TO PLAINTIFF’S
                   MOTION FOR SUMMARY JUDGMENT

       COMES NOW the Federal Defendant, United States Department of Education,

(“Education”) and files this Response to Plaintiff’s Motion for Summary Judgment and asks that

Plaintiff’s Motion be Denied and that Defendant’s Motion for Summary Judgment Be Granted,

pursuant to Rule 56 of the Federal Rules of Civil Procedure. Plaintiff filed her Motion for

Summary Judgment on October 19, 2015, and Defendant Education also filed a Motion for

Summary Judgment on the same date. Plaintiff’s Motion argued the facts and issues previously

raised in her Complaint and moves for summary judgment on her claim that Federal

Consolidation Loan Debt no. 17*****70 be discharged and that garnishment of her wages be

enjoined, all on the basis of an alleged False Certification of her ability to benefit.

       Plaintiff essentially asserts that Education made an arbitrary and capricious decision that

violates the Administrative Procedures Act (AAPA@), 5 U.S.C. '' 701-06, when it denied

Plaintiff’s claim of false certification of ability to benefit. As discussed in Defendant’s Motion

for Summary Judgment, Plaintiff’s challenge is governed by the APA=s standard of review for

informal agency adjudications; whether the action was Aarbitrary, capricious, or otherwise not in
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accordance with law.@ See 5 U.S.C. ' 706; Citizens to Preserve Overton Park v. Volpe, 401 U.S.

402, 416 (1971). This APA standard of review is a narrow one whereby the Court is not

empowered to substitute its judgment for that of the agency. Marsh v. Oregon Natural Res.

Council, 490 U.S. 360, 378 (1989); Gilbert v. Nat=l Transp. Safety Bd., 80 F.3d 364, 368 (9th

Cir. 1996). Rather, the Court determines only whether the agency=s decision is Awithin the

bounds of reasoned decision making.@ Baltimore Gas and Electric Co. v. Natural Resources

Defense Council, 462 U.S. 87, 105 (1983). As demonstrated below, Education’s decision to

deny Plaintiff’s request for a discharge of her Student Loans was neither arbitrary nor capricious,

and did not violate any applicable law. Education’s decision was well Awithin the bounds of

reasoned decision making.@ Plaintiff’s claims should therefore be summarily dismissed.

OVERVIEW OF THE FEDERAL FAMILY EDUCATION LOAN PROGRAM (FFELP)

       The FFELP (formerly the Guaranteed Student Loan (GSL) Program) is authorized under

Title IV, Part B of the Higher Education Act (HEA) of 1965, as amended. This loan program is

described at Pages 2-3 of the Federal Defendant’s Memorandum in support of Motion for

Summary Judgment (Docket Entry no.18-1) and is incorporated by reference here. The goal of

the FFELP is to make loans for higher education accessible for a broad range of students. When

loans are not repaid, it causes a problem within the system. Any discharge or non-payment of

these student loans has a direct cost to the Federal Government and the American taxpayer.

Education, therefore, in administering its student loan program, is entrusted not only with

attending to the needs of the students, but also with protecting the integrity of the public trust.

Consequently, loan discharges are given only under very narrow exceptions.

       FFELP loans disbursed on or after January 1, 1986 may be administratively discharged,

either partially or completely, on specifically enumerated grounds: death, total and permanent
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disability, closed school, false certification, and unpaid refunds. Although Plaintiff made this

application for a loan discharge claiming false certification, the discharge should only be

granted, in Education’s discretion, on the most narrow grounds.

UNDISPUTED FACTS

       Plaintiff obtained five original student loans between June 2002 and August 2006, in

order to attend the University of Phoenix, to pursue a Bachelor of Science degree. She attended

the University of Phoenix for more than 3 years, but did not graduate. The student loans totaled

$36,868.00. On or about June 28, 2006, Plaintiff obtained a FFELP Consolidation loan in the

amount of $36,868 at the fixed interest rate of 5.3%. This loan repaid the five student loans

previously obtained by Plaintiff to attend the University of Phoenix. The loan entered repayment

on August 24, 2006. Plaintiff made no payments on the account and the loan was declared in

default in 2007. On March 7, 2008, Plaintiff submitted her False Certification (Ability to

Benefit) Loan Discharge application. See Administrative Record (“AR”, Docket Entry No. 13)

at 50. (Loan Discharge application). On May 14, 2008 American Student Assistance, (“ASA”)

Education’s loan servicer, issued its initial decision, denying Plaintiff’s application for failure to

substantiate her claim, and instructing her to submit additional evidence of her failure to obtain a

high school diploma. See AR at 46. (ASA May 2008 decision). On May 31, 2008 Plaintiff

submitted a Request for a Hearing, requesting a telephonic hearing on the issue of the discharge

of her student loans due to lack of GED, and attaching a copy of her high school transcript. See

AR at 37-40. (May 31, 2008 Request for a Hearing). On June 24, 2009 Education affirmed

ASA’s initial decision. See AR at 20-21 (June 2009 decision).

       Between 2009 and 2014 Plaintiff wrote to Education, ASA, and the University of

Phoenix on multiple occasions, asserting that her FFEL Consolidation loan should have been
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discharged pursuant to her False Certification (Ability to Benefit) Discharge application. See

e.g. AR at 5, 6, 8, 13, and 14.

          On March 28, 2014 Education issued a final agency decision, denying Plaintiff’s False

Certification (Ability to Benefit) Loan Discharge application, and explaining that Education’s

review of its audit, program reviews, and other oversight materials, now contained in the

Administrative Record, found no evidence of violations of ability-to-benefit violations at the

University of Phoenix during the time of Plaintiff’s enrollment. See AR at 1-2. (March 28, 2014

final agency decision).

          Subsequently, after issuance of the March 28, 2014 final agency decision by Education,

Plaintiff, on July 24, 2014, submitted another Request for a Hearing on the issue of the

dischargeability of her FFEL Consolidation loan. On July 30, 2014 Plaintiff also submitted an

Administrative Wage Garnishment Hearing Request, requesting a telephonic hearing on the same

issue.

          On October 1, 2014 Education issued a Garnishment Hearing decision, which determined

that Plaintiff’s wages were subject to a wage garnishment withholding. See Attachment A to

Plaintiff’s Original Complaint. Plaintiff then filed this lawsuit on December 1, 2014. (Docket

Entry no. 1).

ARGUMENT

          Defendant Education incorporates, relies on and refers the Court to its previous

arguments set out in its Memorandum in Support of its Motion for Summary Judgment. (Docket

Entry no.18-1). Defendant however here responds directly to Plaintiff contention that Education

did not sufficiently investigate, because there are no records from the University of Phoenix that

prove or disprove whether Plaintiff was given a test of her ability to benefit from the more than
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three years of education which she received. University of Phoenix, as shown by the reports

attached to the Administrative record, has been investigated and reviewed. As the March 28,

2014 final agency decision explains, in light of the lack of substantiation, Education has

undertaken its own investigation of Plaintiff’s allegation that the school failed to properly

administer the ability to benefit test. As part of this investigation, Education has examined its

audit and program review records, as well as school reports for the University of Phoenix. See

AR p. 1-2.    The investigation uncovered no information to support the assertion that the

University of Phoenix did not properly administer its ability to benefit tests.

       Plaintiff’s allegation that she was not given any ability to benefit testing is contradicted

by her attendance at the University for so many years. She continued to attend, and repeatedly

took out additional student loans. She subsequently consolidated the five student loans, but

never made voluntary payments. Under these facts, Education’s denial of her False Certification

Discharge application was not arbitrary and capricious.

       Any discharge of Title IV student loans has a cost to the Federal Government and the

American taxpayer. Education, therefore, in administering its student loan program, is entrusted

not only with attending to the needs of the students, but also with protecting the integrity of the

public trust. Congress has determined that student loans should not generally be discharged

administratively, except for a limited number of circumstances, including false certification of a

borrower’s ability to benefit. 20 USC §1087. Education, by regulation, has established a

standard that borrowers must meet to qualify for discharge under this provision. Failure to

properly enforce the standards thus established would result in the waste of taxpayer dollars and

compromise the integrity of the student loan program.
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       As evident from Education’s March 28, 2014 decision and its Administrative Record,

Education carefully considered Plaintiff’s application, the supporting documents, and also has

conducted a thorough investigation of all of its internal records, such as program reviews, audit

reports, and other available information. After a careful review Education concluded that the

evidence did not support Plaintiff’s contention that the ability to benefit test was not properly

administered by the University of Phoenix. Plaintiff, an adult, not a minor or very young adult,

took classes for more than 3 years at the University. Under these circumstances, granting a

discharge of her student loans, in the absence of any evidence of the school’s failure to properly

administer the ability to benefit test, would result in the waste of public funds and compromise

the integrity of the student loan program.

        The Administrative Procedure Act, 5 U.S.C. sections 706(2)(A-E), provides the standard

 of review, stating that Agency action may be set aside only if it is “arbitrary, capricious, an

 abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). The

 agency’s construction of a statute it administers can only be deemed “not in accordance with

 law” if the relevant statute unambiguously forecloses the agency’s interpretation, or if the

 agency’s interpretation is not a permissible construction of the statute. Chevron, U.S.A., Inc. v.

 Natural Res. Def. Counsel, Inc., 467 U.S. 837, 842-43 (1984); see also Barnhart v. Walton, 535

 U.S. 212, 217-18 (2002). If the agency’s interpretation is a permissible construction of the

 statute, it must stand; the court cannot substitute its judgment for that of the agency. Chevron,

 467 U.S. at 843-44.

        As to whether agency action is arbitrary or capricious, the scope of review under that

 standard is narrow; the Court must “consider whether an agency’s decision was based on a

 consideration of the relevant factors and whether there has been a clear error of judgment.”
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 Motor Vehicle Mfrs. Ass’n v. State Farm Mutual Auto. Ins. Co., 463 U.S. 29, 43 (1983). As

 above, however, the Court may not substitute its policy judgment for that of the agency

 when the policy is rational. Chevron, 467 U.S. at 865-66. In short, an agency decision, such

 as in this case, which is sustainable by the administrative record, must be upheld. Camp v.

 Pitts, 411 U.S. 138, 141 (1973).

 CONCLUSION

         For the reasons discussed above, Education’s action in this case was not arbitrary or

 capricious and Plaintiff’s claims should be dismissed.

         WHEREFORE, Defendant respectfully requests that its motion for summary judgment

 be granted and Plaintiff’s motion for summary judgment be denied, that all the claims and

 counts in Plaintiff’s complaint be dismissed with prejudice, and that the Court award Defendant

 all other relief the Court deems just and proper.

                                                           Respectfully submitted,

                                                           KENNETH MAGIDSON
                                                           United States Attorney

                                                     By:   s/ Charmaine Aarons Holder
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                                    CERTIFICATE OF SERVICE

       This will certify that the attached instrument was served on October 19, 2015, by the

electronic filing system on all attorneys of record.
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                                       s/ Charmaine Aarons Holder
                                        Charmaine Aarons Holder
                                        Assistant United States Attorney
